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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                          Criminal No. 17-64 (DWF/KMM)

 UNITED STATES OF AMERICA,                )
                                          )
                       Plaintiff,         )
                                          ) GOVERNMENT’S POSITION
       v.                                 ) REGARDING SENTENCING
                                          )
                                          )
 EDWARD S. ADAMS,                         )
                                          )
                       Defendant.

      The United States of America, by and through its attorneys, Erica H.

MacDonald, United States Attorney for the District of Minnesota, and Joseph H.

Thompson, Kimberly A. Svendsen, and Jordan L. Sing, Assistant United States

Attorneys, submits the following sentencing memorandum.

I.    BACKGROUND

      Defendant Edward Adams willfully failed to report certain income for tax years

2008, 2009, and 2010. In April 2015, Adams entered into a closing agreement with

the IRS as part of the Voluntary Disclosure Program. In his closing agreement,

Adams admitted that he underreported his federal income tax liabilities for the tax

years 2008, 2009, and 2010, as a result of a missed capital gain that was not

previously reported.

      Specifically, for the tax year 2008, Adams admitted that he failed to report

income from the sale of stock in the amount of $81,000. He also admitted that he

failed to report $424,755 from the sale of stock in tax year 2009, and $90,025 from

the sale of stock in tax year 2010.
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       As part of his closing agreement, Adams paid approximately $118,000 in

additional taxes that he owed on this income to the IRS.

       On October 24, 2019, Adams pled guilty to a one-count information charging

him with willfully failing to pay tax, in violation of 26 U.S.C. § 7203.

II.    THE PRESENTENCE INVESTIGATION REPORT

       The November 2018 edition of the U.S. Sentencing Guidelines Manual applies

in this case. The government agrees with the PSR’s Guidelines calculation.

       The base offense level is 6 pursuant to Guidelines § 2T1.1(a)(2). PSR ¶18. The

offense level is reduced 2 levels pursuant to Guidelines § 3E1.1(a) because the

defendant accepted responsibility for his offense. PSR ¶25. The resulting offense level

is 4. PSR ¶25. The defendant falls in criminal history category I. PSR ¶33.

       With an offense level of 4 and a criminal history category of I, the advisory

Guidelines range is 0 to 6 months in prison. PSR ¶ 56.

III.   GOVERNMENT’S SENTENCING RECOMMENDATION

       The government respectfully requests that the Court sentence Adams to a one-

year term of probation.



                                               Respectfully Submitted,

Dated: January 9, 2020                         ERICA H. MacDONALD
                                               United States Attorney

                                                /s/ Joseph H. Thompson
                                         BY:   JOSEPH H. THOMPSON
                                               KIMBERLY A. SVENDSEN
                                               JORDAN L. SING
                                               Assistant U.S. Attorneys


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